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AO 91 (Rev. l l/l l) Criminal Complaint
UNITED STATES DISTRICT CoURT
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Southern District of Ohio

 

 

 

United States of America )
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Jimmy F|ores ) Case NO' ` ` ‘ " j ' " ® ¢* c
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Dcfendam(.s)
CRIMINAL COMPLAINT
l, the complainant in this case, state that the following is true to the best of my knowledge and belicf.
On or about thc date(s) of 4/10!19 in the countyl of BUU€|‘ in the
Southern District of Ohio , the defendant(s) violat€d:
Code Seciz'@n Ojense Description
18 USC s. 922(9)(1) felon in possession of a firearm

This criminal complaint is based on these facts:

See Attached Affidavit of Kath|oen Boyce

if Continued on the attached sheet

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Comj){a."nam s signature

 

Sworn to before me and signed in my presencc.

Date: |:t"l\!f\

City and State:

 

 

Dayton, Ohio Michae| Newman US Maglstrate Judge
Pr imed name amf rifle

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ATTACHMENT "A"
AFFIDAVlT

. 1__ Kathleen l\/i. 13oyceJ a Special Agent for United States Immigration and Custolns
Enf`orcement (ICE), Homeland Security Investigations (HSI), am hereinafter referred to
as Affiant. As such, Affiant sets forth the following in support of an arrest warrant for

Marco VILLA, John William GROOM, and Jimmy FLORES.

Affiant is an employee of HSI assigned to the Cincinnati Resident Office. Affiant has
been employed with HSI since August 2010. Affiant attended and graduated from the
basic agent training course in Brunswick, Georgia. Affiant was then assigned to the HSI
l\/liami Office, where Affiant was assigned to the Miami lnternational Airport (MIA)
Passenger Conspiracy Response Group and specialized in drug trafficking and money
laundering investigations In March 2016, Affiant was reassigned to the HSI Buffalo
Office, where Affiant was assigned to the Financial Group, specializing in money
laundering, virtual currency, bank fraud, and bulk cash smuggling investigations Affiant
has received extensive training in the investigation of narcotics trafficking and financial

crimes from HSI, as well as ongoing iii-service training

Since October 2017, Affiant has been assigned to the HSI Border Enforcelnent Security
Task Force (BEST) in Dayton, Ohio.

. As a Special Agent for HSI, Affiant is charged with the duty of enforcing among other
Titles, the Controlled Substance Act, Title 21, United States Code, together with other

assigned duties as imposed by Federal law.

By virtue of Affiant's employment with HSl, she performs and has performed various

tasks which include, but are not limited to:

a) Conducting surveillance for the primary purpose of observing the activities and

movements of drug traffickers;

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b) Functioning as a case agent which entails the supervision of specific aspects of drug

investigations;

c) The tracing and tracking of`monies and assets gained by drug traffickers from the

illegal sale of drugs

. This Affidavit is submitted in support of a criminal complaint, and seeks the issuance of
arrest warrants for Marco VlLL-A and John William GROOM, for violations of21 U.S.C.
§ 846 and 841 (b)(l)(A) (conspiracy to possess With intent to distribute 400 grams or more
of fentanyl), and for Jimmy FLORES for violation of18 U.S.C. § 922(g)(l) (convicted
felon in possession of a firearm which has been shipped or transported in interstate or

foreign commerce).

. The information contained in this Affidavit is largely based upon an investigation
conducted by your Affiant and other law enforcement officers All of the details of the
investigation are not included in this Affidavit, rather only information necessary to
establish probable cause of the aforementioned violations

FACTS

FACTS SUPPORTING PROBABLE CAUSE

Unless otherwise noted, when 1 assert that a statement was made, I received the
information from a law enforcement officer who provided the information to me, either
verbally or in a written report. The officer providing me with the information may have

received the information by way of personal knowledge or from another source.

. On April 10, 2019, Affiant and members ofthe Miami Valley Bulk Smuggling Task
Force (MVBSTF), comprised of agents from federal, state and local police departments,

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received information regarding drug activity occurring at 1825 Parrish Ave, Hamilton,
OH 45011. The subject believed to be residing at that address was identified as “Diablo,”

and was suspected of being involved in trafficking large quantities of narcotics

On April 10, 2019, at approximately 7:45 PM, agents and officers initiated surveillance
of 1825 Parrish Ave, Hamilton, OH 45011.

At approximately 7:20 PM, officers observed a blue sedan (Target Vehicle 1) parked
outside of the 1825 Parrish Ave, 1-1amilton, OH 45011 (Target Residence). A short time
later, officers observed a Hispanic male exit the residence and place an unknown object

into the trunk of the vehicle and enter the passenger side of the vehicle.

At approximately 7123 Pl\/I, officers observed Target Vehicle l as it exited the area.
Officers observed Target Vehicle 1 as it traveled East on OH State Route 129 (OH-129),
continuing South onto Interstate 75 (1-75) to the Speedway Gas Station located at 7397
Tylersville Rd, West Chester, OH 45069.

. Officers observed Target Vehicle 1 briefly meet with an individual who exited a white

sedan (Target Vehicle 2) parked at the gas station. Officers observed that individual re-
enter Target Vehicle 2 after appearing to briefly speak with the passenger in Target
Vehicle l.

At approximately 7:43 Pl\/I, agents and officers observed Target Vehicle 1 and Target
Vehicle 2 depart the Speedway Gas Station parking lot in tandem and depart the area

traveling North on 1-75.

Agents relayed Target Vehicle 1 ’s and Target Vehicle 2’s direction of travel to an Ohio

State Highway Patrol (OSP) Trooper who was in the area assisting with surveillance

At approximately 7:45 PM, the OSP Trooper pulled behind Target Vehicle 1, identified
as a blue Honda sedan bearing OH Registration ESK5818, and conducted a traffic stop of
the vehicle after observing a turn signal violation after the vehicle exited 1-75 N at the

Monroe / OH State Route 63 (OH-63) Exit.

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Upon approach, the Trooper identified the driver of the vehicle as lolm William GROOl\/i
(GROOl\/l), who presented an Ohio driver license, and the passenger as 1\/1arco VILLA
(VILLA), who only provided his name and date ofbirth.

The Trooper indicated he smelled an odor of raw marijuana coming from the vehicle As
a result, the Trooper conducted a probable cause search of the vehicle, during which he
located a shoe box in the trunk of the vehicle containing a white powdery substance
suspected to be fentanyl wrapped in plastic bags and clear plastic wrapping The

approximate weight of the white powdery substance and packaging was 530 grams.

In a post Miranda interview, GROOM stated he picked up VILLA at his house located in
Hamilton, OH, and VILLA placed the shoe box in the trunk of his vehicle after exiting
the residence GROOM stated he was to be paid 8100 to drive VILLA to the l\/liami
Valley Garning Casino to drop the box off to someone, and Target Vehicle 2 was to

travel to the casino behind their vehicle as protection

In a post Miranda interview_, in reference to the suspected fentanyl located in the vehicle,

VILLA stated it Was "‘all [him]”.

Following the traffic stop of Target Vehicle 1, agents and officers maintained
surveillance of Target Vehicle 2. Target Vehicle 2 continued travel in the nearby area of
the traffic stop of Target Vehicle 1 for a short time1 after which the vehicle returned to the

area of the '1`arget Residence.

Additional agents and officers were in the area securing the Target Residence pending the
issuance ofa search warrant for the residence As Target Vehicle 2 approached the 'l`arget
Residence, agents conducted a traffic stop of the vehicle and identified the driver of the
vehicle as Jimmy FLORES (FLORES), who presented an Ohio driver license, and the
passenger as l\licholas Lee Haitrick, who also presented an Ohio driver license Agents

detained both individuals at that time as the investigation was ongoing

. On April 10, 2019, the Honorable Judge Keith Speath, Butler County Common Pleas

Court, signed a search warrant authorizing the search of the Target Residence.

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Agents and officers subsequently conducted a search ofthe Target Residence, during
which multiple firearms were located and seized from the residence, along with other
evidentiary items. Of the firearms seized from the residence one was a Glock 26 pistol
and another was a Glock 30 pistol Multiple gun magazines were located and seized as

well.

fn a post Miranda interview of FLORES, FLORES provided agents verbal consent to
search his phone An agent located a photograph on FLORES’ cellular phone depicting
what appeared to be a Glock pistol containing an extended magazine consistent with the
pistol and magazine located inside the Target Residence. 1n the photograph, FLORES is

holding the pistol and magazine in his hand.

Database queries were conducted revealing FLORES was arrested in 2010 by Bowling
Green Police Department for violation of the Ohio Revised Code 2903.1 l (felonious

assault) for which he was sentenced to six years imprisonment

While previously conducting numerous investigations involving Glock tirearms, your
Affiant has verified with a Bureau of Alcohol Tobacco and Fireanns (ATF) Special
Agent, and knows through the course of her investigations, that Glock firearms are
manufactured in Prescott, Arizona. Therefore, the Glock handgun pictured in FLORES’

possession did affect interstate commerce if it was in fact possessed in Ohio.

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28. Based on the facts set forth in the Affidavit, Your Afftant believes that there is probable
cause to issue criminal complaints and arrest warrants against Jimmy FLORES for
violation of 18 U.S.C. § 922(g)(1) (convicted felon in possession of a firearm which has

been shipped or transported in interstate or foreign commerce).

Katl:ffeen l\/I. Boyce, Séecial Agent

Homeland Security Investigations

Subscribed and swo fore me on April 11, 2019

   

 

